Case 3:18-cv-05198-BHS Document 86-1 Filed 03/15/21 Page 1 of 10




                      EXHIBIT 1
        DECLARATION OF BRIAN W. ESLER
Case 3:18-cv-05198-BHS Document 86-1 Filed 03/15/21 Page 2 of 10




                       UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF WASHINGTON
                                   AT SEATTLE
  ____________________________________________________________
  DARRICK L. HUNTER,                        )
                                            )
                 Plaintiff,                 )
                                            )
          vs.                               )       No. C18-5198-BHS-JRC
                                            )
  CHARLES N. ROHRER, et al.,                )
                                            )
                 Defendants.                )
                                            )
  ____________________________________________________________


                        VIDEOCONFERENCE PROCEEDING
                   DEPOSITION UPON ORAL EXAMINATION OF
                                   ED BALDWIN
                              NOVEMBER 13, 2020
                              PAGES 1 THROUGH 47
  ____________________________________________________________


                                Taken Before:


                    LAURA L. STEWART            CCR, RPR, CRR
                         CERTIFIED COURT REPORTER
                                      #2110
                                       OF
                    CAPITOL PACIFIC REPORTING, INC.
       2401 BRISTOL COURT SW, SUITE C-103, OLYMPIA, WA 98502
  TEL (360)352-2054 FAX (360)705-6539 TOLL FREE (800)407-0148


          TACOMA, WA                SEATTLE, WA                 ABERDEEN, WA
         (253)564-8494            (206) 622-9919            (360) 532-7445
                       CHEHALIS                     BREMERTON
                  (800) 407-0148                 (800) 407-0148


                     WWW.CAPITOLPACIFICREPORTING.COM
                    ADMIN@CAPITOLPACIFICREPORTING.COM

                                                                               1

                Capitol Pacific Reporting, Inc. (360) 352-2054
                            Case 3:18-cv-05198-BHS Document 86-1 Filed 03/15/21 Page 3 of 10
                                              Baldwin - Examination by Mr. Valera

                                                                     Page 5                                                             Page 7
             1      deposition.                                                    1   A. Since May 1, 2015.
             2            Because we're doing this over Zoom, I'm going to         2   Q. Did you work for the Department of Corrections before
             3      ask that you answer audibly and speak loud enough so that      3   Stafford Creek?
             4      the microphone picks it up.                                    4   A. No.
             5            Also, let's please avoid speaking over each other.       5   Q. What is your role currently at Stafford Creek?
             6      I'll wait until you finish answering, and if you could         6   A. My job title is Grounds and Nursery Specialist 5.
             7      please wait until I finish asking a question.                  7   Q. Have you had any other titles at Stafford Creek?
             8            If there's a question that you don't understand,         8   A. No.
             9      just ask me to rephrase it. Remember that you are under        9   Q. And can you describe your job responsibilities as the
            10      oath for the duration of this deposition. It's the same       10   grounds -- in the title that you gave me?
            11      oath that you would take before a judge or a jury.            11   A. Well, I manage a crew for ground maintenance tasks
            12      Understand that the testimony that you give today can be      12   and -- excuse me -- and gardening. We do a variety of
            13      used in a court proceeding and at trial.                      13   things from mowing lawns. I have some greenhouses that I
            14            Is there any reason that you cannot give truthful       14   manage. I train inmates to do gardening and horticulture
            15      testimony today?                                              15   work. We propagate the plants for the facility. We have
            16      A. No.                                                        16   vegetable gardens.
            17      Q. Are you taking any medication that might affect your       17         We grow food for food banks. Coastal Harvest,
            18      memory or your judgment?                                      18   specifically. We donate a pretty significant portion of
            19      A. No.                                                        19   produce to the food bank distribution hub, which goes to an
            20      Q. So for the duration of the deposition, counsel for the     20   eight-county area.
            21      AG may object to one of my questions. Unless they direct      21         I do -- you know, any of the other -- I manage a
            22      you not to answer a specific question, you're going to be     22   small engine repair shop for grounds crew. I -- yeah.
            23      required to answer that question.                             23   Pretty much grounds and gardening.
            24      A. Okay.                                                      24   Q. And you mentioned that you manage a crew. How many
            25      Q. We can take a break at any time, if you need to. Just      25   inmates are on your crew?

                                                                     Page 6                                                             Page 8
             1      let me know. But just keep in mind that if I have asked you    1   A. I currently manage two crews. I have a grounds -- what
             2      a question, please answer that question before we go on        2   they call a conservation nursery crew, which is anywhere
             3      break.                                                         3   from 10 to 15 individuals, and then I -- there's currently
             4      A. Okay. I do have a question.                                 4   13, I believe, people on that crew.
             5      Q. Sure. Go ahead.                                             5          And then I manage the life without parole garden
             6      A. About how long is this going to take?                       6   crew. And that's anywhere from 5 to 10 worker gardeners
             7      Q. I am hoping that it will not take longer than about an      7   that I manage. And currently, I believe there's 9 on that
             8      hour and a half.                                               8   crew.
             9      A. Oh, wow. Okay.                                              9   Q. For the conservation crew, how would you describe the
            10      Q. Any other questions?                                       10   racial makeup of the crew? Is it primarily white? Is there
            11      A. Nope.                                                      11   any primary race on that crew, or is it mixed?
            12      Q. Great.                                                     12   A. I would say it stays pretty mixed. I would say for the
            13            Did you prepare for this deposition today?              13   nature of the work that I do, I get a lot of white guys.
            14      A. I did not. I have no real idea what we're -- aside         14   I've had a lot of Asian guys on the crew. I've had a lot of
            15      from the person that we're discussing, I don't really know    15   Latino guys on the crew. Occasionally, I will have
            16      what -- I'm not really clear why I would be asked.            16   African-Americans on the crew, also.
            17      Q. Did you review any documents?                              17          I would say since -- well, one of my tasks here, I
            18      A. I did not.                                                 18   supervise a LGBTI support group for inmates. And so as a
            19      Q. Okay.                                                      19   consequence of that activity, I end up with a large
            20            Could you please tell me where you currently live,      20   percentage of -- of gay/transgender gardeners, also.
            21      as far as city goes?                                          21          So I would say I'm probably the only crew that has
            22      A. Aberdeen, Washington.                                      22   that population on my crew and in any significant amount.
            23      Q. And do you still work at Stafford Creek Correctional?      23   I know that's not racially what you're asking, but it sure
            24      A. Yes.                                                       24   is under the diversity category. So I thought I would
            25      Q. How long have you been at Stafford Creek for?              25   volunteer that, also.


                                                                                                                 2 (Pages 5 to 8)
                                  Capitol Pacific Reporting, Inc. (360) 352-2054


Electronically signed by Laura Stewart (001-349-646-8261)                                                               daf3e5fd-f6e1-4f21-80ec-39913fa8e2b9
                             Case 3:18-cv-05198-BHS Document 86-1 Filed 03/15/21 Page 4 of 10
                                              Baldwin - Examination by Mr. Valera

                                                                     Page 9                                                             Page 11
             1      Q. Thank you. That's helpful.                                   1   A. Yes.
             2             For the life without parole crew, what about that        2   Q. Could you give me those names, please?
             3      crew?                                                           3   A. I would not.
             4      A. I would say that is -- let me think. I've got                4   Q. You're not going to give me their names?
             5      currently three guys who are African-American. I've             5   A. I would not. I feel that if I were to give those
             6      got -- I've got a guy who is Latino. I think the rest of        6   names, there would be retaliation, frankly.
             7      the guys are white, but I'm not sure. It might be four          7   Q. So I understand that, Mr. Baldwin. You did receive the
             8      African-Americans on the LWOP crew. One of the guys, I'm        8   subpoena that we sent you; correct?
             9      not really sure. And I'm not going to say, "Hey, what race      9   A. I -- I had, I think. Salina Brown took that.
            10      are you?"                                                      10   Q. So I'm going to ask you to please provide me the names
            11      Q. I understand.                                               11   of those people that you mentioned.
            12      A. That would be not very good.                                12   A. Well, let's just say they have never told me that,
            13      Q. No. I understand.                                           13   specifically. I have just observed that that is something
            14             Would you say that generally, over the past --          14   that happens.
            15      since about 2015, has your crew generally been primarily       15   Q. Okay. We'll table that for now, but I'm probably going
            16      white, or have your crews been primarily white? Or at least    16   to want to come back around to that point.
            17      the majority, anyway?                                          17         You are familiar with the hub area at Stafford
            18             MS. VANROOJEN: Object.                                  18   Creek?
            19             THE WITNESS: It really changes year by year.            19   A. Yes.
            20      There's been times where it has been. You know, they kind      20   Q. Is your responsibility -- I guess is your garden crew
            21      of -- they kind of -- these guys like to work in groups, you   21   located within the hub?
            22      know.                                                          22   A. The conservation nursery crew works in the hub. The
            23             So I'll get a group of Asian guys, and they'll be       23   life without parole crew works not in the hub.
            24      friends. Then I'll get a group of African-American guys.       24   Q. I understand.
            25      Then I'll get some white guys. I get a lot of the -- I also    25         So not talking about the life without parole crew,

                                                                    Page 10                                                             Page 12
             1      get a lot of the alternative religious types. The Wiccans       1   talking about the conservation crew, they work in the hub;
             2      and the Druids and the -- which all have groups here. The       2   correct?
             3      sweat lodge. The guys that go to the sweat lodge. I get a       3   A. Yes.
             4      lot of native guys also, I would say. Native American.          4   Q. Are you familiar with the EFVs or the extended family
             5             So, no, I would say my crew's pretty -- stays            5   visitor units in the hub?
             6      pretty diverse.                                                 6   A. Yes.
             7      BY MR. VALERA:                                                  7   Q. Does your conservation crew work in that area?
             8      Q. Okay.                                                        8   A. Yes.
             9      A. But I think I'm one of the supervisors that -- I don't       9   Q. Are you aware of the other work crews that do work in
            10      think everybody's open to that. So --                          10   that area?
            11      Q. Can you explain what you mean by that?                      11   A. Yes.
            12      A. I would say a lot of the supervisors hire only white        12   Q. Are you aware of the supervisors of the other work
            13      guys.                                                          13   crews who work in that area?
            14      Q. Would you say that generally, or are there specific         14   A. Yes.
            15      supervisors and specific areas that have that hiring           15   Q. So you mentioned earlier that you felt like certain
            16      practice?                                                      16   supervisors have hiring practices where they prefer to hire
            17             MS. VANROOJEN: Objection.                               17   white crew members; correct?
            18             THE WITNESS: Huh?                                       18   A. Yes.
            19             MS. VANROOJEN: I said objection. Confusing.             19   Q. Are --
            20             THE WITNESS: Yeah. I'm not sure what that . . .         20   A. That is my opinion, that there's a practice.
            21      BY MR. VALERA:                                                 21   Q. Okay.
            22      Q. Are there specific supervisors that you can think of        22         Do those other supervisors that have that practice
            23      that hire only white guys, in your opinion?                    23   of preferring to hire white inmates work in the EFV area, as
            24      A. Yes.                                                        24   well?
            25      Q. Do you know their names?                                    25   A. Yes.


                                                                                                                 3 (Pages 9 to 12)
                                  Capitol Pacific Reporting, Inc. (360) 352-2054


Electronically signed by Laura Stewart (001-349-646-8261)                                                                daf3e5fd-f6e1-4f21-80ec-39913fa8e2b9
                            Case 3:18-cv-05198-BHS Document 86-1 Filed 03/15/21 Page 5 of 10
                                              Baldwin - Examination by Mr. Valera

                                                                    Page 17                                                             Page 19
             1     much whenever they're going because, you know, they have gas     1   white.
             2     in the mowers and that could be a security issue.                2   Q. Okay.
             3            So I think that every crew -- I'm pretty sure that        3   A. So I guess kind of by extension, yeah -- kind of, I
             4     every crew that goes to the EFV has to have -- you can't         4   guess you could say that. But it's kind of a -- it's kind
             5     just send. It's all locked. So the supervisor has to             5   of misleading, I think, you know.
             6     unlock everything. So they have to have escorts.                 6   Q. Can you explain that, please?
             7            The supervisors have to go to the EFVs with the           7   A. Well, just because it depends on the crew. Like, I
             8     crew, regardless of if they have a work order or not to do       8   know different crews are made up of different populations.
             9     work.                                                            9   And that changes, based on, you know, who is on your list.
            10     Q. So are you saying that it is logged whenever a crew          10         I had a list of 12 guys to hire. And if they're
            11     does perform work at the EFVs?                                  11   all, you know, white, then that's what I hire. And if
            12     A. Well, I don't log anything I do.                             12   they're all LGBTI, which actually has happened, that's who I
            13            MS. VANROOJEN: Objection. Mischaracterizes               13   hire.
            14     testimony. Go ahead and answer, Mr. Baldwin.                    14         I mean, I go with -- you know, I can't go around
            15            THE WITNESS: Oh, okay. I don't have a log, and I         15   and cherry-pick guys around the facility. I mean, there is
            16     don't log anything. In five years I've never been asked to      16   a job coordinator that organizes who engineering and CI
            17     log anything. So I'm going to figure that the only -- this      17   hires, and then we do interviews. You know, we get a list,
            18     is just my guess. Sort of my -- you know, based on what I       18   depending on, you know, who is interested in what jobs.
            19     do.                                                             19         You know, they let these guys sign up for -- "Hey,
            20            But if I complete -- when I complete a work order,       20   I'm in prison. I want to learn how to be an electrician."
            21     I turn it in, and it's -- it's entered into the work order      21   "I want to work in engineering." "I want to sign up to work
            22     system as completed.                                            22   in CI," and "I want to sign up to work at the unit." And
            23            So I think if there's a work order generated, there      23   then as jobs come up, I go on the call-out to those job
            24     would be a log. That would be kind of a log. But I don't        24   interviews. Does that make sense?
            25     think, like, there's any logbook or any -- anything like        25   Q. That makes sense. I don't think that I'm

                                                                    Page 18                                                             Page 20
             1      that. No.                                                       1   understanding, then, your comment earlier about supervisors
             2      BY MR. VALERA:                                                  2   preferring to hire white inmates.
             3      Q. Okay.                                                        3   A. Well, I can say no. Let's say I get 20 guys on my
             4      A. Not that I've ever been required to use. And I've            4   crew. I pick who I hire. So let's say if I get a really
             5      never heard of anybody else having to log stuff.                5   good mixture of -- a good racially mixed crew -- which I
             6      Q. Okay.                                                        6   would say the job coordinator tends to -- you know, like
             7            Go back to --                                             7   this last time for me, as an example, getting all LGBTI --
             8      A. Let's say I go -- I'm the light bulb guy, so I go and        8   I think I had two guys out of 12 that were not. But that's
             9      change out the light bulbs, and I had a work order for it.      9   who was signing up to be on my crew. So that -- that's what
            10      I sign out the work order. It took three light bulbs, cost     10   I ended up with.
            11      this much, took a half hour. Sign it, date it, turn it in.     11          I think that that's unusual. I don't think that
            12      I think that's the only document for any work done in the --   12   that always happens. I think that -- you know, most people
            13      around the facility, I'm guessing.                             13   just get the list that they get, and then they pick from
            14      Q. Okay. Thank you.                                            14   that list.
            15            Going back to the issue of hiring by supervisors in      15          So let's say I got, you know, six purple guys and
            16      the EFV, is it your observation that the majority of the       16   20 -- six blue guys, and I only want to hire purple guys. I
            17      inmates that work in the EFVs are white?                       17   just don't hire the blue guys. There's no -- nobody checks.
            18            MS. VANROOJEN: Objection. Confusing.                     18   There's no quotas or anything like that happening for most
            19            THE WITNESS: Do you want me to answer it?                19   people.
            20      BY MR. VALERA:                                                 20          But I can request -- I mean, if I am the job
            21      Q. Yes. Please answer.                                         21   coordinator, I can say, "Hey," you know, "can you put this
            22      A. I would say it varies. It depends on which crew and         22   guy on my list?" Or if I see a guy out in the facility
            23      who the supervisor is and -- you know. Yeah. I guess it        23   while I'm working that approaches me and says, "Hey, I want
            24      would depend. I would say -- I would say, based on my          24   to work on your crew," I will tell them -- and all the other
            25      observation, the majority of the workers in the hub are        25   supervisors -- "talk to your supervisor. It's conservation


                                                                                                               5 (Pages 17 to 20)
                                  Capitol Pacific Reporting, Inc. (360) 352-2054


Electronically signed by Laura Stewart (001-349-646-8261)                                                                daf3e5fd-f6e1-4f21-80ec-39913fa8e2b9
                            Case 3:18-cv-05198-BHS Document 86-1 Filed 03/15/21 Page 6 of 10
                                              Baldwin - Examination by Mr. Valera

                                                                   Page 21                                                             Page 23
             1      nursery. Get on that list, and the next time they hire you,    1   trying to have them do additional things. Well -- in the
             2      if you're eligible for hub access and" -- you know, they       2   EFVs, for instance. Or that he felt like certain people had
             3      would have to jump through hoops to get hub access. They       3   targeted certain people on his crew.
             4      have to have their GED.                                        4          He seemed frustrated because there was some
             5            "If you qualify to work in the hub, you will come        5   conversation in the department that maybe he was
             6      up on that list." I can't say, "Okay. You look great. I'm      6   compromised, because at a certain point, he had hired all
             7      going to hire you right now." I can't do that.                 7   black guys on his crew, and that there was a gang
             8      Q. Okay. Thank you.                                            8   affiliation or compromise. And he seemed pretty upset when
             9      A. So it's random for some people, and some people can, I      9   those things were said.
            10      guess, work it more. I mean, if I'm buddies with the job      10          And as he's a friend -- I would call Mark a pretty
            11      coordinator, I can say, "Hey, I want these guys," and get     11   good guy. We've been really friendly and have a good
            12      it, and chances are, that happens.                            12   working relationship. And, you know, I think he's good at
            13      Q. Thank you.                                                 13   what he does. And I -- so I think I was a good sounding
            14            Do you have any recollection of Mr. Darrick Hunter?     14   board for him when he would have those discussions when he
            15      A. Yes.                                                       15   was frustrated because I -- I didn't ever -- I did not
            16      Q. Did you have any relationship with him?                    16   believe any of the accusations that were ever made against
            17      A. He was chatty. So I would chat with him. We were           17   him for having an all-black crew, which I thought was weird.
            18      professional and friendly. We had a friendly interaction.     18   It's just how sometimes people are in our department and
            19      Generally, if somebody in custodial needed to do something    19   this facility. I hate to say it, but . . .
            20      in my shop, he would come over and do it. He's -- he was a    20   Q. Could you expand on that?
            21      pretty good guy, I thought.                                   21   A. Well, prison's not a nice place to work all the time.
            22            I would -- I would say -- I would give him              22   Some of the people that work here aren't really nice. And
            23      positive -- my recollections would be -- I would consider     23   it's pretty much just that simple. And you have to have a
            24      them positive, I guess.                                       24   tough skin. And I would say Mark Sherwood is not very
            25      Q. Do you know Mark Sherwood?                                 25   tough-skinned.


                                                                   Page 22                                                             Page 24
             1     A. Yes. He's one of my co-workers in engineering.               1          So he was -- he would -- he would -- I would say he
             2     Q. Do you recall any conversations that you had with            2   would fret a lot over other people's opinions and his
             3     Mr. Sherwood about Mr. Hunter?                                  3   reputation. He was very concerned what people thought about
             4     A. Oh, boy. Yeah. I would say he was -- he was a source         4   him and how they perceived his job performance.
             5     of some conversation several years ago.                         5          And work -- he was a hard worker. He worked really
             6     Q. Do you recall what those conversations were about?           6   hard. He was a good -- I mean, I wouldn't say he was
             7     A. I would say generally -- I can't really recall super         7   fretting for no reason. He deserved a lot more credit than
             8     specific things on specific dates. But I would say that --      8   I think he got.
             9     as I recall, that Mr. Hunter was a pretty good worker for       9   Q. Do you know Timothy McCandless?
            10     Mr. Sherwood, overall. But that he had some -- he              10   A. Yes.
            11     would -- he would get infracted a lot, as I recall, and        11   Q. Did you have a relationship with him?
            12     sometimes he'd lose his job.                                   12   A. We are professional. We work together. He's tool
            13            And Mr. Sherwood would, like, hire him back a lot.      13   control sergeant. So I've had to work with him on things of
            14     Which isn't usual. That's not usually -- usually if            14   getting tools to the housing units for their gardens or tool
            15     somebody gets fired off your crew, you're not going to be so   15   repairs. He does all the tool accountability stuff.
            16     inclined to hire them back. As I recall, that was something    16   So -- yeah. I would say he's a pretty prominent feature in
            17     that happened once or twice.                                   17   our department.
            18            So we would discuss that. And I would say that          18   Q. Have you had any negative experiences with
            19     Mr. Sherwood thought that Mr. Hunter was treated unfairly.     19   Mr. McCandless?
            20     So we -- we had had some of those conversations, I would       20   A. I would say yes.
            21     say. I seem to recall that a few times being discussed.        21   Q. Very generally, can you tell me about those
            22     Q. Can you expand on those conversations about Mr. Hunter      22   experiences?
            23     being treated unfairly? What you recall from those?            23   A. I would say that Mr. McCandless -- it's my impression
            24     A. You know, man, I just -- not really. Like things --         24   of him that he would use policies to get people, kind of.
            25     like Mr. Sherwood would say that different officers were       25   If he didn't like you, then you were kind of on the outs,


                                                                                                              6 (Pages 21 to 24)
                                  Capitol Pacific Reporting, Inc. (360) 352-2054


Electronically signed by Laura Stewart (001-349-646-8261)                                                               daf3e5fd-f6e1-4f21-80ec-39913fa8e2b9
                            Case 3:18-cv-05198-BHS Document 86-1 Filed 03/15/21 Page 7 of 10
                                              Baldwin - Examination by Mr. Valera

                                                                   Page 25                                                             Page 27
             1     and he seemed to be kind of part of the -- the white            1   Generally -- general terms. I don't remember if there was
             2     supremacy set, honestly.                                        2   anybody else -- it was in the tool crib. You know, "How's
             3            So -- with the makeup of my crew, he's not always        3   it going?" I said, "Oh, great. People are really helpful."
             4     very positive towards me either. And he definitely was not      4         And I said something like, you know, "Especially
             5     very positive towards Mr. Sherwood. And I would say that at     5   Mark Sherwood has been really showing me a lot of stuff."
             6     times he -- sometimes he seems kind of moody. Sometimes         6   And he goes, "Oh, Mark. Oh, Mark Sherwood. He's" -- "you
             7     he's very helpful. And sometimes he's not very helpful.         7   got to watch out for that guy. He's" -- "we think that he's
             8            Like, he goes out of his way to be sabotaging, if        8   compromised, but we haven't decided to what degree."
             9     he doesn't like you. So I -- I would say that he is a           9         And I was, like, new. I mean, "What do you mean,
            10     person I have some frustrating interactions with.              10   he's compromised?" "Well, I mean, we noticed he's hired an
            11     Q. Do you ever recall discussing Mr. McCandless with           11   all-black crew." And I go -- I mean, to me, that's, like,
            12     Mr. Sherwood?                                                  12   why don't -- "I'm still not getting your gist here. I mean,
            13     A. Yes.                                                        13   I don't" -- and he kind of dropped it at that point, because
            14     Q. Do you recall what those conversations were about?          14   I think he realized that I wasn't -- I wasn't in the club,
            15     A. I would say that they fall under the same general           15   so to speak. So --
            16     headings that I have described. Just generally when people     16   Q. Do you recall Mr. McCandless saying anything else or
            17     are saying that somebody's compromised or that somebody has    17   making any other comments about the race of Mr. Sherwood's
            18     questions about a person's affiliation at work because of      18   crew?
            19     the makeup of their crew.                                      19   A. I -- it was just so long ago. I would say, I don't
            20            I would say that McCandless would come up often in      20   know. It was 2015, 2016. I think that -- I heard more
            21     those conversations that I had with Mark Sherwood. And, you    21   about it when he wasn't around than when he was around
            22     know, frustration -- him feeling frustration about some of     22   from -- random people seemed to -- it seemed to be a source
            23     his situations. And I would -- I would vent some of my         23   of conversation.
            24     frustrations to Mr. Sherwood, as well.                         24   Q. You say that conversation occurred in the tool crib;
            25     Q. Do you recall if you ever discussed Mr. McCandless'         25   correct?


                                                                   Page 26                                                             Page 28
             1      treatment of Mr. Hunter with Mr. Sherwood?                     1   A. Yes. As I -- I believe that's where we talked about
             2      A. Generally, I would say -- wait. McCandless' discussion      2   it. And he -- -- I went and talked to my supervisor,
             3      of Hunter with -- with Mr. Sherwood?                           3   because I was very concerned. I was, like, "Wow. Check out
             4      Q. If you ever discussed with Mr. Sherwood McCandless'         4   what happened. So this just happened."
             5      treatment of Mr. Hunter.                                       5         And so I don't remember if my supervisor mentioned
             6      A. Yes.                                                        6   it to Mark or I mentioned it to Mark. But then we talked
             7      Q. Do you recall how that conversation went?                   7   about it a lot. And it was, like -- I mean, that was a
             8      A. I would say it was generally Mr. Sherwood's opinion         8   mistake, because Mark got really -- pretty worked up over it
             9      that -- that Tim McCandless did not like Hunter and had him    9   at that point. And that seemed to justify his opinion that
            10      on his -- in his target.                                      10   he was targeted by people in our department. Anyway . . .
            11      Q. You mentioned it was your opinion that Mr. McCandless      11   Q. Who was your supervisor at that time?
            12      was of the white supremacist subset or set?                   12   A. Jason Miller.
            13      A. Yes.                                                       13   Q. Was anyone else present with you and Mr. McCandless
            14      Q. Can you elaborate on what you mean by that?                14   when he made those comments in the tool crib?
            15      A. Well, just generally, you know, I guess -- just, you       15   A. I cannot recall if Sergeant Rohrer was there or not.
            16      know, things he says. The way he acts. The people he          16   But I think he was. Or maybe outside. He had mentioned the
            17      associates with. The things he's said to me about my crew     17   same thing to me. Because I remember having a similar
            18      in the past. The things that Mr. Sherwood has reported that   18   conversation with Charles Rohrer about Mark Sherwood being
            19      he said to him about his crew. Things that Tim McCandless     19   compromised, but we don't know to what degree.
            20      has said to me about Mark Sherwood's crew. I mean, he's       20         They were pretty open about it. It wasn't a
            21      pretty open, I would say, about it.                           21   big -- I mean, the reason people were talking about it is
            22      Q. Can you tell me what Mr. McCandless said to you about      22   because they weren't, like -- they were pretty open about
            23      Mr. Sherwood's crew?                                          23   it.
            24      A. He just one time said -- when I was new -- Tim had         24   Q. Would you say that they were open about making comments
            25      asked, you know, "How's it going?" The new guy.               25   about Mr. Sherwood's crew's race?


                                                                                                              7 (Pages 25 to 28)
                                  Capitol Pacific Reporting, Inc. (360) 352-2054


Electronically signed by Laura Stewart (001-349-646-8261)                                                               daf3e5fd-f6e1-4f21-80ec-39913fa8e2b9
                            Case 3:18-cv-05198-BHS Document 86-1 Filed 03/15/21 Page 8 of 10
                                             Baldwin - Examination by Mr. Valera

                                                                   Page 29                                                             Page 31
             1           MS. VANROOJEN: Objection. Mischaracterizes the            1   fixated on the ones that had the straight guys, that were
             2     testimony.                                                      2   saying -- it was all the same thing. Sorry. It was -- it
             3     BY MR. VALERA:                                                  3   just was obvious that he wanted to harass certain members of
             4     Q. Mr. Baldwin, I'll restate that question.                     4   my crew and not others, and wanted to attempt to hold me
             5           Is it correct that you said that Mr. McCandless           5   accountable.
             6     made comments to you about the race of Mr. Sherwood's crew?     6          And at that point, I had been in to Mark, "Hey,
             7     A. Well, that seemed to be the basis of the objection. I        7   well it looks like it's my turn on that," you know. But it
             8     mean, that Mark Sherwood was compromised, was because he had    8   didn't -- it didn't go very far. I mean, it sure didn't go
             9     an all-black crew.                                              9   very far.
            10           I mean, that was, like, the foundation of the            10          So -- and then it just -- I think it got dropped.
            11     argument that he was making to get to Mark Sherwood, I would   11   Because I kind of made some -- you know, I kind of made some
            12     say. The fact that the crew was black. Everybody on his        12   legal noises. "Hey, if I need to lawyer up about this,
            13     crew was African-American, and that was the -- that was the    13   that's where I'll go, because I ain't taking your shit."
            14     foundation of the accusation that he was compromised.          14   Excuse my French. But I was not happy to get that kind of
            15           I mean, it was like, sort of, a, "Well, duh,             15   harassment.
            16     doesn't everybody see it that way?" kind of thing. When I      16          And then it just sort of -- I don't know. It just
            17     didn't, I was kind of -- then we didn't -- he didn't           17   sort of -- I don't know if it went away or not, actually.
            18     really -- then it just went back to just -- everything was     18   I'm still kind of waiting for something to come up around
            19     very professional between me and McCandless. And me and        19   me, honestly.
            20     Rohrer, actually, at that point.                               20          I just think that's part of the culture that we
            21     Q. Okay.                                                       21   live in here, and it's kind of what makes this job hard
            22           You said that that conversation happened                 22   sometimes. It's not a very nice place all the time.
            23     approximately in 2015, when you began working at Stafford      23   Q. Yeah.
            24     Creek?                                                         24          Could you expand on that "being part of the
            25     A. Yeah. It was pretty early on. I was pretty much out         25   culture"? I'm still not quite tracking what you mean by


                                                                   Page 30                                                             Page 32
             1     of -- was kind of learning stuff. So, yeah, it would have       1   that.
             2     been 2015 or maybe early 2016, as I -- but I'm not positive     2   A. Well, just -- it's -- this is just my opinion. But
             3     about the time frame. I'm sorry about that. I never             3   sometimes it seems like people that work here are here to --
             4     documented any of these conversations. And I apologize for      4   want to really help people. You know, I've worked in a lot
             5     that. But . . .                                                 5   of institutions. I worked at an acute care psychiatric
             6     Q. Do you recall the statements that Mr. McCandless made        6   facility, and I worked at a med/surg unit in a hospital. I
             7     to you about your crew?                                         7   worked in a hospice.
             8     A. Oh, he tried to say -- I mean, he would do the same          8          I tend to approach my job in those terms of, you
             9     thing. I mean, you know, how does it look that I have an        9   know, I'm here to work with the population that can't meet
            10     all-LGBTI crew? He seemed to make those kind of statements.    10   their needs a hundred percent, for whatever reason. In this
            11     But I don't think people took it very seriously at that        11   case, because they're incarcerated.
            12     point.                                                         12          I don't -- I think that other people that come
            13           I think that -- I had established a reputation as        13   from -- come from a law enforcement background -- I think
            14     being fairly outspoken and, you know, willing to defend        14   there's some of that, you know -- the good civil servant,
            15     myself, and so it didn't go very far. But I did get a bunch    15   the helpful. You know, we want to help the program and
            16     of attention from the PREA coordinator, and I did get -- he    16   learn new things and get new opportunities.
            17     did attempt to harass -- because, you know, I have these       17          And then I would say there's another group that are
            18     hoop houses, and this year we changed what we're doing.        18   working here because they're bullies, and they want to bully
            19           So, you know, I want to grow as much produce as we       19   somebody, and they pretty much think that, you know, inmates
            20     can. So we were growing a lot of weather-sensitive plants      20   deserve to be here. And, in fact, that it might be part of
            21     that don't grow here on the coast. Like tomatoes and           21   their job to make it worse for them.
            22     peppers, melons. And, you know, some of that stuff gets        22          And I see a lot of -- I'll just be honest. I see a
            23     viney and can get overgrown.                                   23   lot of those types of people. They utilize policy -- they
            24           And she seemed very fixated on the hoop houses that      24   twist policy around to their benefit. And so I think that
            25     had LGBTI individuals working. And he didn't seem at all       25   there's a culture of that.


                                                                                                              8 (Pages 29 to 32)
                                  Capitol Pacific Reporting, Inc. (360) 352-2054


Electronically signed by Laura Stewart (001-349-646-8261)                                                               daf3e5fd-f6e1-4f21-80ec-39913fa8e2b9
                            Case 3:18-cv-05198-BHS Document 86-1 Filed 03/15/21 Page 9 of 10
                                              Baldwin - Examination by Mr. Valera

                                                                    Page 33                                                             Page 35
             1             I mean, I hate to say it, but I feel like it's           1   statement to you about Mr. Sherwood's crew's race.
             2      something that I deal with every day. It's something that       2          Do you recall Mr. Rohrer ever making any other
             3      people here deal with every day. And I'm just very thankful     3   statements about race, in general?
             4      that it's not the majority of people who work here. But,        4   A. No. I wouldn't say -- he was always pretty friendly.
             5      you know, it creates a culture, I think, that -- and also,      5   Just quick -- quick, clever, friendly banter. Not really
             6      additionally, I think that sometimes when the people work       6   anything too heavy. He seemed a little more consistent.
             7      here, they want to help people.                                 7   His professional persona was very consistent in his work. I
             8             They get very burned out, because the population is      8   would say that -- that -- yeah. I would say probably less
             9      very jaded. And I think that sometimes they see people that     9   so.
            10      want to help as targets. And I think that that does            10   Q. Would you describe Mr. Rohrer as a part of that same
            11      create -- I do see people get compromised and kind of do       11   white supremacist set you mentioned Mr. McCandless being a
            12      questionable things because, you know, they just kind of end   12   part of?
            13      up there. So that tends to feed some of the more negative      13          MS. VANROOJEN: Objection.
            14      aspects of the culturing.                                      14   BY MR. VALERA:
            15             Because, "See, see, told you. There it is right         15   Q. Please answer the question, Mr. Baldwin.
            16      there. That's it. That's what we're" -- that's all we're       16   A. Oh, you want an answer? I would say that he probably
            17      saying all this time. And so I feel like sometimes -- from     17   held some of the same views, just based on the -- the
            18      a cultural standpoint -- that we chase our tail a lot,         18   conversation about Mark Sherwood's -- Mark Sherwood being
            19      honestly.                                                      19   compromised. Which -- I mean, I want to be clear. I
            20             I mean, I think that -- because, I mean, it's --        20   thought that was a ridiculous thing to allege against Mark
            21      again, it's prison. It's not a nice place to work all the      21   Sherwood.
            22      time. And that is sometimes reflected in -- in the culture.    22          I thought it was so far off base, and the more that
            23      Not with just the inmates, but sometimes with staff.           23   I talk about it, it kind of brings up some emotion for me
            24      Q. Understood. Thank you.                                      24   because, you know, I really think Mark Sherwood's a good guy
            25             You mentioned Charles Rohrer earlier. Do you have       25   and works hard to do a good job. And I just -- I'm pretty


                                                                    Page 34                                                             Page 36
             1      a relationship, or did you have a relationship with             1   sure that Rohrer picked up that when we had our
             2      Mr. Rohrer?                                                     2   original -- and we never -- I don't think -- to my
             3      A. I would say professional. I would say that he was            3   knowledge, I don't remember having any other kind of
             4      always friendly, and I didn't interact with him too much        4   interactions like that with him. He never addressed me
             5      because he was kind of more over -- in charge of the hub        5   about -- if he wanted to address me about something I was
             6      area.                                                           6   doing, he would go to my supervisor.
             7      Q. Do you recall having any conversations with                  7   Q. You are talking about Rohrer?
             8      Mr. Sherwood about Mr. Rohrer?                                  8   A. Rohrer. Yeah.
             9      A. Similar things. Yes.                                         9   Q. So after thinking about Mr. Rohrer's accusations about
            10      Q. Do you recall those conversations?                          10   Mr. Sherwood, are you able to remember anything else about
            11      A. They would -- I would say -- I can't specifically           11   that conversation where Mr. Rohrer mentioned the race of
            12      recall any conversations that we had. But it was the same      12   Mr. Sherwood's crew to you?
            13      thing. He -- they were partners. Rohrer and McCandless         13   A. Nope. I cannot remember anything else about it. It
            14      were kind of partners. They kind of had some of the same       14   was a very long time ago. And really, how I remember it
            15      views and some of the same MO, I would say.                    15   is -- I'll be honest -- from the emotional -- how it
            16      Q. Can you expand on what you think their views were?          16   affected me.
            17      A. Well, just --                                               17           I don't remember -- you know, and then he said --
            18            MS. VANROOJEN: Objection.                                18   I mean, you know, I couldn't quote specifically statements
            19            THE WITNESS: I would just say that they were very        19   at this point. Like I said, I didn't document it. It's
            20      vigilant about staff getting compromised, and maybe            20   just very -- it just was something that just went around for
            21      sometimes that some of their views on other things, like       21   a while, actually. Yeah.
            22      race relations or, you know, diversity, weren't -- weren't     22           And it just -- you know, I would say a lot of
            23      really very moderate or maybe even not very appropriate.       23   people talk about it, and it just really -- didn't really go
            24      BY MR. VALERA:                                                 24   anywhere. And --
            25      Q. Earlier you mentioned that Rohrer may have made a           25   Q. I'm sorry, Mr. Baldwin, to interrupt you. I'm not


                                                                                                               9 (Pages 33 to 36)
                                  Capitol Pacific Reporting, Inc. (360) 352-2054


Electronically signed by Laura Stewart (001-349-646-8261)                                                                daf3e5fd-f6e1-4f21-80ec-39913fa8e2b9
 Case 3:18-cv-05198-BHS Document 86-1 Filed 03/15/21 Page 10 of 10




 1                           C E R T I F I C A T E
 2             I, LAURA L. STEWART, Certified Court Reporter in
 3   and for the State of Washington, residing at Graham, do
 4   hereby certify;
 5             That the foregoing proceedings were taken before me
 6   and thereafter reduced to a typed format under my direction;
 7   that the transcript is a full, true and complete transcript
 8   of said proceedings consisting of pages 1 through 47;
 9             That as a CCR in this state, I am bound by the
10   Rules of Conduct as Codified in WAC 308-14-130; that court
11   reporting arrangements and fees in this case are offered to
12   all parties on equal terms.
13             That I am not a relative, employee, attorney or
14   counsel of any party to this action, or relative or employee
15   of any such attorney or counsel, and I am not financially
16   interested in the said action or the outcome thereof;
17             That upon completion of signature, if required, the
18   original transcript will be securely sealed and the same
19   served upon the appropriate party.
20             IN WITNESS WHEREOF, I have hereunto set my hand
21   this 23rs day of November, 2020.
22

23                        ______________________________
                          Laura L. Stewart     CCR No. 2110
24

25


                                                                     47

               Capitol Pacific Reporting, Inc. (360) 352-2054
